            Case 5:14-cv-01959-AKK Document 85 Filed 07/10/17 Page 1 of 2                     FILED
                                                                                      2017 Jul-10 AM 09:48
                                                                                     U.S. DISTRICT COURT
                                                                                         N.D. OF ALABAMA


                       UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ALABAMA
                          NORTHEASTERN DIVISION

CAROLYN           JEFFERSON, as the )
personal representative of the Estate of )
Tanisha Jefferson                        )
          Plaintiff,                          )   Civil Action Number
                                              )    5:14-cv-1959-AKK
vs.                                           )
                                              )
MADISON COUNTY, ALABAMA,                      )
et al.,                                       )
          Defendants.

                                         ORDER

          The court has for consideration Defendants’ Motion to Strike and Exclude

Opinions and Report of Plaintiff’s Expert Witness Mark Patterson, M.D., in which

Defendants contend that Dr. Patterson’s expert witness report is an impermissible

attempt to obtain a “standard of care” expert rather than the Plaintiff’s stated intent

to obtain a “medical causation” expert. See generally docs. 74 and 76. Having

reviewed Dr. Patterson’s opinion, although it is broad, the court notes that Plaintiff

asked for an additional expert to opine on causation, see doc. 69, and Dr. Patterson

has opined that inadequate care caused Ms. Jefferson’s death, see doc. 72-1. As

such, because Dr. Patterson’s opinion is consistent with the scope of Plaintiff’s

request, the motion to strike is DENIED.

          In light of this Order, to the extent Defendants require an expert to rebut Dr.

Patterson’s opinion, Defendants are allowed until August 10, 2017 to obtain such
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an expert. As to Dr. Patterson, assuming Defendants have not already deposed him,

and any rebuttal expert, the deadline for discovery is extended to August 31, 2017.

      DONE the 10th day of July, 2017.


                                      _________________________________
                                               ABDUL K. KALLON
                                        UNITED STATES DISTRICT JUDGE




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